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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                      )
 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )
                                                      ) Case No. 20-cr-10111-RWZ
 CHARLES LIEBER,                                      )
                                                      )
         Defendant.                                   )
                                                      )

      ASSENTED TO MOTION OF DEFENDANT CHARLES LIEBER FOR LEAVE TO
                            FILE UNDER SEAL

        Pursuant to Local Rule 83.6.11 and with the government’s assent, counsel for Defendant

Charles Lieber respectfully requests leave of the Court to file under seal a letter updating the Court

on Professor Lieber’s health. The letter discusses matters of personal privacy subject to Local Rule

83.6.11(b)(4).

        In accordance with Local Rules and with the government’s assent, Defendant requests

leave of the Court to file this letter under seal.

Dated: Plymouth, Massachusetts
       August 10, 2022
                                                      Respectfully submitted,

                                                       /s/ Torrey K. Young
                                                      Torrey K. Young (BBO #682550)
                                                      Marc L. Mukasey (admitted pro hac vice)

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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

        Counsel for the government assents to this Motion. I hereby certify that this document
will be sent by electronic mail to counsel for the government on August 10, 2022.

                                                     /s/ Torrey K. Young
                                                    Torrey K. Young (BBO #682550)
